       CASE 0:24-md-03110-JWB-DTS Doc. 29 Filed 07/17/24 Page 1 of 10




                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


In Re: Granulated Sugar                                      MDL No. 24-3110 (JWB/DTS)
Antitrust Litigation

                                                          PRETRIAL ORDER NO. 1:
                                                          Establishing Procedures and
                                                          Setting Initial Pretrial
                                                          Conference


       The Judicial Panel on Multidistrict Litigation (“JPML”) has centralized a set of

related cases in this district for coordinated or consolidated pretrial proceedings. (Doc.

No. 1, Transfer Order.)

       The Pretrial Orders in this case will be numbered sequentially going forward.

Counsel should refer to them by order number if they reference them in the future.

       IT IS HEREBY ORDERED:

       I.     Consolidation and Applicability of this Order

       Any actions filed, whether filed directly in the United States District Court for the

District of Minnesota or in any other United States District Court (whether by original

filing or removal), that are related to this litigation are hereby consolidated into one

action (the “Consolidated Action”) for all pretrial purposes, pursuant to Rule 42 of the

Federal Rules of Civil Procedure and the JPML Order of June 7, 2024 (Doc. No. 1),

under 28 U.S.C. § 1407(a). Any “tag-along” actions later filed in, removed to, or

transferred to this Court, or directly filed in the District of Minnesota, will automatically

be consolidated with this Consolidated Action without the necessity of future motions or
        CASE 0:24-md-03110-JWB-DTS Doc. 29 Filed 07/17/24 Page 2 of 10




orders. All related actions that are filed in, removed to, or transferred to this Court as part

of this Consolidated Action are referred to hereafter as the “Cases.” For any member case

transferred to this district as part of the MDL that was previously stayed pending transfer,

the stay is hereby lifted.

       The Cases are consolidated for pretrial purposes only. This consolidation,

however, does not constitute a determination that the Cases should be consolidated for

trial, nor does it have the effect of making any person or entity a party to any action in

which he, she, or it has not been named, served, or added in accordance with the Federal

Rules of Civil Procedure.

       The provisions of this Order, and any subsequent orders establishing new

procedures or amending the established procedures, shall govern the practice and

procedure in the Cases. It automatically applies to any Cases that are subsequently

transferred to, removed to, or initiated in this Court, without the necessity of future

motions or order.

       II.     Deadlines to Answer

       Defendants’ deadlines to answer or otherwise respond to Plaintiffs’ complaints are

hereby extended until such time that the Court establishes a timeline for such responses.

       III.    Status Conference and Hearing

       The Court will hold an initial status conference in this matter on August 20, 2024,

at 2:00 p.m. in Courtroom 3B, United States Courthouse, 316 N. Robert Street, St. Paul,

Minnesota.


                                               2
        CASE 0:24-md-03110-JWB-DTS Doc. 29 Filed 07/17/24 Page 3 of 10




       At least two weeks before the initial status conference, by August 6, 2024, the

parties must submit a Joint Proposed Agenda listing what they propose the Court should

address preliminarily in this case and what they otherwise propose the Court address at

the initial status conference.

       The Joint Proposed Agenda should include a proposed briefing schedule on

Plaintiffs’ pending Joint Motion to Appoint Interim Co-Lead Counsel and Plaintiffs’

Steering Committee, and Consolidate the Related Direct Purchaser Actions (Doc.

No. 21), or any other like motions not yet filed. The Court will hold a hearing on

Plaintiffs’ Joint Motion to Appoint Interim Co-Lead Counsel and Plaintiffs’ Steering

Committee, and Consolidate the Related Direct Purchaser Actions (Doc. No. 21) at

another date and time, to be determined.

       The Joint Proposed Agenda should also identify all pending motions in member

cases and a proposed briefing schedule for those motions, or an alternative proposal for

resolving those motions. The Joint Proposed Agenda will inform the Court’s agenda for

the initial status conference, which will be circulated to counsel prior to the conference.

       Parties are not required to attend the conference. Counsel who will be trying the

case or who in your judgment are likely to be involved in directing any substantive aspect

of the case should be present for the conference. Counsel who intend to seek a leadership

position must attend the initial conference. Parties with similar interests are expected to

agree to the extent practicable on a single attorney to act on their joint behalf at the

conference.


                                               3
        CASE 0:24-md-03110-JWB-DTS Doc. 29 Filed 07/17/24 Page 4 of 10




       IV.    Scheduling and Discovery Plan

       At least two weeks before the initial status conference, by August 6, 2024, the

parties shall submit a brief (1) outlining their view of the primary facts, allegations,

claims, and defenses involved in this litigation, together with any other pertinent legal

and factual background; and (2) providing a list of all similar cases filed both within the

District of Minnesota and anywhere else in the country, whether filed in state or federal

court, and an overview of the procedural status of each of those cases, which should

include (a) the status of discovery in those cases, (b) the status of motions, decisions, and

other important events in those cases, if any, and (c) a prediction of which of the cases

appear to be the furthest along in litigation or closest to resolution. These briefs will not

be binding, will not waive any claims or defenses, and may not be offered in evidence

against a party in later proceedings. The parties are limited to one submission for

Plaintiffs and one submission for Defendants.

       At least two weeks before the initial status conference, by August 6, 2024, the

parties shall also submit a joint proposed case management order. In addition to the

normal deadlines and other issues in a pretrial scheduling order, see Fed. R. Civ. P. 16,

the joint proposed case management order must address the following: (1) electronic

discovery; (2) whether establishment of a document repository is necessary, and

agreement on a document production format that is search-capable; (3) stipulations

regarding service of process; (4) coordination with other state or federal litigation, if any;

(5) specific class action litigation concerns or timelines; (6) trial dates; and (7) an


                                               4
        CASE 0:24-md-03110-JWB-DTS Doc. 29 Filed 07/17/24 Page 5 of 10




overview of settlement discussions and an ideal timeframe for a settlement conference.

Disagreement on any of these items should be noted in the joint proposed case

management order. Counsel should be prepared to discuss the joint proposed case

management order and its contents at the initial status conference.

       V.      List of Affiliated Companies and Counsel

       To help the Court identify any issues or matters of recusal or disqualification,

counsel must submit to the Court, within 14 days of receipt of this Order, a list of all

companies affiliated with the parties and all counsel associated in this centralized

Consolidated Action.

       VI.     Service

       Before the initial status conference, service of all papers relating to the initial

status conference shall be made on counsel of record appearing in the Cases. The case

dockets are the official record of the service list. Counsel are responsible for assuring

service of this Order and all future documents on opposing pro se parties. This paragraph

does not pertain to or alter the requirements for service of process of any summons and/or

complaint. After Plaintiffs’ interim lead counsel have been designated by order,

Plaintiffs’ interim lead counsel should accept service on behalf of all Plaintiffs.

       VII.    Stay of Discovery

       Pending the initial conference and further orders of this Court, all outstanding

Discovery proceedings in the Cases are stayed, and no further discovery in the Cases

shall be initiated.


                                               5
       CASE 0:24-md-03110-JWB-DTS Doc. 29 Filed 07/17/24 Page 6 of 10




       VIII. Previous Orders

       Any orders, including protective orders, previously entered by this Court or any

transferor court, shall remain in full effect unless modified by this Court, with the

exception of any transferor court orders imposing pleadings or discovery deadlines,

which are hereby vacated.

       IX.    Master Docket File

       The Clerk of Court will maintain a master docket under this case number “24-

3110 (JWB/DTS)” with a caption styled as “In Re: Granulated Sugar Antitrust

Litigation.” All papers filed in this case shall bear the identification “MDL No. 24-3110

(JWB/DTS).”

       When a pleading is intended to be applicable to all Cases, this shall be indicated

by the words “This Document Relates to: ALL ACTIONS” and shall be filed

electronically in 24-md-3110. When a pleading is intended to apply to less than all cases,

this Court’s civil action number for each individual case to which the document(s)

relate(s) shall appear immediately after the words “This Document Relates to: . . .” and

shall be filed electronically in each member case to which the document(s) applied. The

following is a sample of the pleading style:




                                               6
         CASE 0:24-md-03110-JWB-DTS Doc. 29 Filed 07/17/24 Page 7 of 10




         In re: Granulated Sugar                              MDL No. 24-3110 (JWB/DTS)
         Antitrust Litigation

         This Document Relates to: . . .

         X.     Filing

         Any pleading or paper filed in any of the Cases shall be filed with the Clerk of this

Court and not with the transferor district court.

         Any pleading or paper shall be filed electronically according to this District’s ECF

Civil Manual For New Users and Civil ECF Procedures Guide, available at

https://www.mnd.uscourts.gov/reference-guides-and-procedures. “Initiating documents”

(e.g., original complaints, notices of removal) must be filed electronically as a new case

(and not filed in the lead case, MDL No. 24-3110). All other pleadings, motions, and

other documents that relate to an individual case shall be filed in both MDL No. 24-3110

(JWB/DTS) and the individual case. Documents relating to all Cases shall be filed only in

MDL No. 24-3110 (JWB/DTS).

         XI.    Docketing

         When an action that properly belongs as a part of the Consolidated Action is filed

in the District of Minnesota or transferred here from another court, the Clerk of this Court

shall:

         a.     File a copy of this Order in the separate file for such action; and

         b.     Make an appropriate entry on the master docket sheet.




                                                7
       CASE 0:24-md-03110-JWB-DTS Doc. 29 Filed 07/17/24 Page 8 of 10




       XII.   Admission of Counsel and Appearances

       Attorneys admitted to practice and in good standing in any United States District

Court are admitted pro hac vice in this Consolidated Action. Association of local co-

counsel is not required. Counsel in a newly filed or transferred action shall complete

(1) the MDL Registration Form and (2) the Notice of Appearance form available at

https://www.mnd.uscourts.gov/forms/all-forms. After completing the MDL Registration

Form, counsel will receive a CM/ECF login enabling them to electronically file the

Notice after applying for Multi-District Admission through his or her individual account.

Except as provided here, the requirements of Local Rule 83.5(d) are hereby waived.

       Each lawyer shall indicate the Court(s) before which he or she is admitted in a

page included as an attachment to the complaint labeled “List of United States Federal

Courts to which Counsel for Plaintiff is Admitted” and which shall be signed and dated

by counsel under the statement, “I hereby certify that I am admitted to the preceding

United States District Court(s) and that I have not been disbarred or suspended from

practice before any of these Courts or any other United States District Court.” In the

event that counsel has been disbarred or suspended from practice before any United

States District Court, counsel shall set forth in the attachment the circumstances of such

disbarment or suspension from practice.

       Counsel who are listed on the docket and are no longer affiliated with this action

or its member cases must promptly file a notice of withdrawal and substitution of counsel

or a motion to withdraw as counsel of record without substitution. Forms for these are


                                             8
        CASE 0:24-md-03110-JWB-DTS Doc. 29 Filed 07/17/24 Page 9 of 10




available at https://www.mnd.uscourts.gov/forms/all-forms.

       Counsel appearing in this action are expected to familiarize themselves with the

Federal Rules of Civil Procedure and the Local Rules for the District of Minnesota, as

well as The Manual for Complex Litigation, Fourth (Federal Judicial Center 2004), which

may serve as a resource in the case management of this litigation.

       XIII. Preservation of Evidence

       Each party shall preserve all documents and other records, including electronic

information, containing information potentially relevant to the subject matter of this

litigation.

       XIV. Communications with the Court

       Unless otherwise ordered, counsel must communicate with the Court in writing,

with courtesy copies to all counsel. Communications with the Court and submissions that

are instructed not to be filed with the Clerk may be sent to

blackwell_chambers@mnd.uscourts.gov. The submissions requested in this Order fall

into this category.

       XV.    Official Court website

       The Court has created and will maintain a web page devoted to the In Re:

Granulated Sugar Antitrust Litigation, which can be found at

https://www.mnd.uscourts.gov/content/granulated-sugar-antitrust-litigation. Through this

website, parties may access orders; minutes; the calendar; transcripts; forms used in this

MDL; contact information for the Court’s staff, Plaintiffs’ Lead and Liaison Counsel


                                             9
       CASE 0:24-md-03110-JWB-DTS Doc. 29 Filed 07/17/24 Page 10 of 10




(once appointed), and Defendants’ counsel; frequently asked questions; and agendas and

reports. Plaintiffs’ Lead and Liaison Counsel and Defendants’ counsel shall confer with

the Court regarding the content of the website.

       XVI. Cooperation and Communications

       The Court recognizes that cooperation by and among Plaintiffs’ counsel and by

and among Defendants’ counsel is essential for the orderly and expeditious resolution of

this litigation. The communication of information among and between Plaintiffs’ counsel

and among and between Defendants’ counsel shall not be deemed a waiver of the

attorney-client privilege or the protection afforded attorneys’ work product, and

cooperative efforts shall not in any way be used against any Plaintiff by any Defendant or

against any Defendant by any Plaintiff. Nothing contained in this provision shall be

construed to limit the rights of any party or counsel to assert the attorney-client privilege

or attorney work-product doctrine.




Date: July 17, 2024                                s/ Jerry W. Blackwell
                                                   JERRY W. BLACKWELL
                                                   United States District Judge




                                              10
